                        Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 1 of 15
A0245B         (Rev. 09/1 I) Judgment in a Criminal Case
               Sheet)



                                           UNITED STATES DISTRICT COURT
                                                              District of Massachusetts
                                                                           )
              UNITED STATES OF AMERICA                                     )        JUDGMENT IN A CRIMINAL CASE
                                   v.                                      )
                       DWAYNE PERSON                                       )
                                                                           )        Case Number: 10-CR-10440-DPW-14
                                                                           )        USM Number: 93644-038
                                                                           )
                                                                           )        David J. Apfel         -        0'   _




                                                                                    Defendant's Attorney
THE DEFENDANT: .
'itpleaded guilty to count(s)           1, 10 and 11 of the Indictment on 10/9/12

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

                                   Nature of Offense                                                               Offense Ended

                                    9on~pfrecyto Distribute Cocaine and Cocaine Base                                12/2/2010                             1

 841(a)(1)



       The defendant is sentenced as provided in pages 2 through               __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                                 D is    D are dismissed on the motion of the United Stat~s.
               -------------

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name. residence.
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution.
the defenClant must notify the court and United States attomey of material changes in economic circumstances.                            .
                                                                                          ~                    .             .

                                                                           1/29/2013                 .¥;.~.I""i~ ~!:'.                   .


                                                                          D~;:"Itr,;~~~_-~ . .
                                                                          Signature of Judge




                                                                           Douglas P. Woodlock                                    Judge,U.S. District Court
                                                                          --~-----~-----~~   -----"            ­                 --   -.-.-----   -   ­

                                                                          Name and Title of Judge
                     Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 2 of 15


AO 245B      (Rev. 09/11) Judgment in a Criminal Case
             Sheet IA
                                                                                               Judgment-Page   2     of    6
DEFENDANT: DWAYNE PERSON
CASE NUMBER: 10-CR-10440-DPW-14

                                             ADDITIONAL COUNTS OF CONVICTION

Title & Section                        Nature of Offense                                   Offense Ended           Count
                                               i6ii'df'-{~b~ihewith Intent to Distribute    11/10/2010              10

84'1 (b)(1 )(8)                        and Distribution of Cocaine

                                              '..1.l,;J,1?~. ota CommunicationS Facility    11/10/2010              11




                        .. ,
                               " ­
                               ,£-">

                        , .. ~~§~.T
                    Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 3 of 15

AO 245B     (Rev. 09111) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                                       Judgment - Page       3       01   6
DEFENDANT: DWAYNE PERSON
CASE NUMBER: 10-CR-10440-DPW-14


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned f()r a
total tenn of:
 120 months. This term consists of terms of 120 months on Counts 1 and 10 and a term of 48 months on Count 11, all to be
 served concurrently. Defendant shall receive credit for time served beginning on 11/10/10.



    iZf The court makes the following recommendations to the Bureau of Prisons:
 Defendant should be designated to a facility within the Northeast Region as close as possible to his family. Defendant should
 participate in educational classes and vocational training programs. Defendant should participate in substance abuse
 treatment.

    iZf The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
      o at                                  0 a.m.       o p.m. on
      o as notified by the United States Marshal.
    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      o before 2 p.m. on
      o as notified by the United States Marshal.
      o as notified by the Probation or Pretrial Serv ices Office.

                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a                               _                    , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                           By __ ~         ~                             .       _
                                                                                                 DEPUTY UNITED STATES MARSHAl
                        Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 4 of 15


AO 245B        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                            Judgment~page      4      of        6
DEFENDANT: DWAYNE PERSON
CASE NUMBER: 10-CR-10440-DPW-14
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 5 years. This term consists of terms of 5 years on Counts 1 and 10 and a term of 1 year on Count 11, all such terms to run
 concurrently.
        The defendant must report to the probation office in the district to which the defendant is released within 72 hours or release li'om the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unla\\ ful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic dru!! tests
thereafter,XS<Ikre~il)C~moR. not to exceed 104 tests per year, as directed.                                                       ~
[]        The above drug testing condition is suspended, based on the court's determination that the defendant poses a 10\\ risk or
          future substance abuse. (Check. ifapplicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check ~rapplicubf" I

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. ifapplicable)

          The defendant shall comply with the requirements of the Sex Ot1'ender Registration and Notification Act (42 ll.S.C. ~ I h90 I. 1'/ \1'q I
D         as directed by the probatIOn officer, the Bureau of Prisons, or any state sex offender registration agency in \\ hich he or she residcs.
          works, is a student, or was convicted ofa qualifying offense. (Check, ifappl,cable.)

D         The defendant shall participate in an approved program for domestic violence. (Check, ifappl,cable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance \\ ith the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as \\ ith any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the permission of the court or probation officer:
  2)       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
  3)       the defendant shall answer truthfully all inquiries by the probation officer and tallow the instructions of the probation officer:
  4)       the defendant shall support his or her dependents and meet other family responsibilities:
  5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation oflicer for schooling. training. lH' othcr
           acceptable reasons;
  6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or empk1) ment:
  7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute. or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:
  8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:
  9)       the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person con\ icted of a
           felony, unless granted permission to do so by the probation officer:
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 I I)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law entorcemelll onicer:
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency \\ithout thc
           permission of the court; and

 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ,Personal history or characteristics and shall permit the probation officer to make such notitications and to conlirm thc
           defendant s compliance with such notification requirement.
                   Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 5 of 15

AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                     Judgment - Page _ ~ 5       "I         6
DEFENDANT: DWAYNE PERSON
CASE NUMBER: 10-CR-10440-DPW-14
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                                                            Restitution
TOTALS             $ 300.00                                        $                                    $



o The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 2-15C) will         n<: cnter<:d
      after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed belt)\\.
      If the defendant makes a partial payment, each payee shall receive a.n approximately rroportioned payment. unless speeified othem isc in
      the priority order or percentage payment column below. However. pursuant to 18 L .S.c. ~ 3664(i). all non federal \ ietims mllst ne paid
      before the United States is paId.                                                          .

                                                                         Total Loss*         Restitution Ordered Priority or Percentage




 TOTALS                              $                      0.00                                   0.00
                                                                            $----­


 [J    Restitution amount ordered pursuant to plea agreement $

 o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or tine is paid in full nell)re lhe
       fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612({). All of the payment options on Sheet 6 ma) be subject
       to penalties for delinquency and default, pursuant to 18 U .S.c. § 3612(g).

 o     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       o the interest requirement is waived for the [] tine 0 restitution.
       o the interest requirement for the [] flOe 0 restitution is modified as follows:

 * Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or alier
 September 13, 1994, but before April 23, 1996.
                  Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 6 of 15
AO 245B    (Rev. 09111) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                                   Judgment -- Page __6__ oj                  6
DEFENDANT: DWAYNE PERSON
CASE NUMBER: 10-CR-10440-DPW-14

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's abili ty to pay, payment of the total criminal monetary penalties is due as fo Ikl\\ s:

A    rJ Lump sum payment of$ _3_0_0_._0_0                     _ due immediately, balance due

                 not later than                                        , or
                 in accordance           D    C,      D D,       D       E, or     ~ F below; or

B    D Payment to begin immediately (may be combined with                        DC,         D D, or       D F below); or
C    [J   Payment in equal                           (e.g, weekly, monthly, quarterl)} installments 0 f $                              0\ ~r a p~rilllj 11!

                           (e.g., months or years), to commence                       (e.g, 30 or 60 dm's) after the date l1f th is i udgment: or

D    D    Payment in equal                          (e.g, weekly, monthly, quarterly) installments of $                         over a period 111
                           (e.g, months or years), to commence                       (e.g, 30 or 60 days) after release from imprisl1nment to a
          term of supervision; or

E    D    Payment during the term of supervised release will commence within                  (e.g, 30 or 60 days) atkr release fi'l1m
          imprisonment. The court will set the payment plan based on an assessment of the defendant's abilit~ lo pay at that lime l1r

F    riI Special instructions regarding the payment of criminal monetary penalties:
           DEFENDANT SHALL PAY THE SPECIAL ASSESSMENT OF $300.00, IMMEDIATELY OR ACCORDING TO A
           PAYMENT PLAN ESTABLISHED BY THE COURT IN CONSULTATION WITH THE PROBATION OFFICER, IF
           NOT PAID IN FULL BEFORE RELEASE FROM PRISON THROUGH A BUREAU OF PRISONS FINANCIAL
           RESPONSIBILITY PROGRAM.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment. payment oferiminalmonctarv penalties is due dunn\!
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pr(sons' Inmate I inaneial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount.
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) resti tution principal, (3) restitution inkrest. (..j) line principal.
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                  Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 7 of 15
AO 245B   (Rev 09/11) Judgment in a Criminal Case
          Attachment (Page I) - Statement of Reasons


DEFENDANT: DWAYNE PERSON
CASE NUMBER: 10-CR-10440-DPW-14
DISTRICT:    District of Massachusetts
                                                               STATEMENT OF REASONS

      COURT FINDINGS ON PRESENTENCE INVESTIGA TION REPORT

      A   i      The court adopts the presentence investigation report without change.

      B 0        The court adopts the presentence investigation report with the following changes.
                 (Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report. If appll(ilble )
                 (Use page 4 if necessary.)

                 o Chapter Two ofthe lI.S,S.G. Manual determinations by court (including changes to base offense leveL or
                      specific offense characteristics)'




          2      0    Chapter Three of the lI.S.S.G. Manual determinations by court (including changes to victim-related adjustments.
                      role in the offense, obstruction ofjustice, multiple counts, or acceptance of responsibility):




          3      0    Chapter Four ofthe lI.S.S.G. Manual determinations by court (including changes to crrmlnal h,stor) categor\ t>r
                      scores. career offender, or criminal livelihood determinations)'




          4      0    Additional Comments or Findings (including comments or factual findings concerning certain in!()rmatlon In the
                      presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation.
                      or programming decisions):




      C   0      The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MAN DATORY MINIMUM SENTENCE (Check all that apply.)

      A   0      No count of conviction carries a mandatory minimum sentence


      B   i      Mandatory minimum sentence imposed.


      C 0        One or more counts of conviction alleged in the mdlctment carry a mandatory minimum term of imprrsonment. btlt the
                 sentence imposed is below a mandatory minimum term because the court has determined that the mandator) mlJ)lmum
                 does not apply based on

                 o findings offact in this case
                 o subsl.1ntial assistance (18 US.C 3553(e))
                                                           ~


                 o the statutory safety valve (18 USC 3553(1)   ~




III   COURT DETERMINA TION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level: _3~1_----,--                          _
      Criminal History Category:
      Imprisonment Range: _10...=2",,0,--_ to 135       months
      Supervised Release Range:     5           to --=5_ _     years
      Fine Range: $ 15,000            to $ 15,000,000


      'it Fine waived or below the guideline range because of inability to pay,
                        Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 8 of 15

AO 245B      (Rev. 09111) Judgment in a Criminal Case
             Attachment (Page 2) - Statement of Reasons


DEFENDANT: DWAYNE PERSON
CASE NUMBER: 10-CR-10440-DPW-14
DISTRICT:    District of Massachusetts
                                                              STATEMENT OF REASONS

IV    ADVISORY GUIDELINE SEN TENCING DETERMINATION (Check only one.)

      A      iZf        The sentence is within an advisory guideline range that is not greater than 24 months. and the court finds no reason to depart


      B      D          The sentence is within an advisory guideline range that is greater than 24 months. and the specific sentence is imposed for these reasons.
                        (Use page 4 if necessary.)



      c      D          The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                        (Also complete Section V)

      D      D          The court imposed a sentence outside the advisory sentencing guideline system. (A/so camp/ere SecrlOn 1'/)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES Ii/applicable.}
      A      The sentence imposed departs (Check only one.):
             D below the advisory guideline range
             D above the advisory guideline range

      B      Departure based on (Check all that apply.):
                             Plea Agreement (Check all that apply and check reason(s) below.):
                             D      5Kl.I plea agreement based on the defendant's substantial assistance
                             D      5K3.1 plea agreement based on Early Disposition or "Fast-track" Program
                             D      binding plea agreement for departure accepted by the court
                             D      plea agreement for departure. which the court finds to be reasonable
                             D      plea agreement that states that the government will not oppose a defense departure motion.

             2               Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                             o      5KI.] government motion based on the defendant's substantial assistance
                             D      5K3.1 government motion based on Early Disposition or "Fast-track" program
                             D      government motion for departure
                             D      defense motion for departure to which the government did not object
                             D      defense motion for departure to which the government objected

             3               Other
                             D      Other than a plea agreement or motion by the parties for departure (Check reasonfs) below.}:

      C          Reason(s) for Departure (Check all that apply other than 5KI. I or 5K31.)
                                                                   5K2.1    Death                                         51\.2 1I   L.~sser Harm
D    4AIJ         Criminal History Inadequacy                D                                                      D
D    5HU          Age                                        D     5K2.2    Physical In,lul)'                       D     51\.2 12   Coercion and Durc''i'i

D    5HU          Education and Vocational Skills            D     5K2.3    Extreme Psychological InIUI)'           D     51<.213    Dllllllll:-ohcu Cnpiklt\

D    5Hl.3        Mental and Emotional Condition             D     5K2.4    Abduction or Unlawful Restraint         D     5K2.14     Public Wellare

D    5HI.4        Physical Condition                         D     5K2.5    Property Damage or L.oss                D     5K2 If>    Volulltf.lI) Di,clo'iurc' or Oll('n'il'

D    5HI.5        Employment Record                          D     5K26     Weapon or Dangerous Weapon              D     5K2 17     Hlgh-Capacltv Semiautomatic Wearon

D    5HI.6        Family Ties and Responsibilities           D     5K2.7    Disruption of Government Function       D     5K2 18     Violent Street Gang

D    5HUI         Military Record, Charitable Service,       D     5K2.8    Extreme Conduct                         D     5K220      Aberrant BehaVior
                  Good Works                                 D     5K2.9    Criminal Purpose                        D     51<.221    DismIssed and Uncharged CnndliLl

D    5K2.0        Aggravating or Mitigating Circumstances    D     5K2.10   Victim's Conduct                        D     5K222      Age or Health of SC\ ()fknd~"

                                                                                                                    D     51\.223    Disch()rged Tenn51 or Itnpfl so 11 ITIl;;'nl

                                                                                                                    D     Other guideline baSIS (e.g. 231 I cnmm~n[Jr\)


      D          Explain the facts justifying the departure. (Use page 4 tfnecessary.)
                   Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 9 of 15

A0245B     (Rev 09111) Judgment in a Criminal Case
           Attachment (Page 3) - Statement of Reasons


DEFENDANT: DWAYNE PERSON
CASE NUMBER: 10-CR-10440-DPW-14
DISTRICT:    District of Massachusetts
                                                          STATEMENT OF REASONS

VI   COURT DETERMINA nON FOR SENTENCE OUTSIDE THE ADVISORY GllIDELINE SYSTEM
     (Check all that apply.)

     A     The sentence imposed is (Check only one.):
           o below the advisory guideline range
           o above the advisory guideline range
     B     Sentence imposed pursuant to (Check ailihal apply.):
                       Plea Agreement (Check ailihal apply and check reason(s) below):
                       o       binding plea agreement for a sentence outside the advisory guidelme system accepted by the court
                       o       plea agreement for a sentence outside the advisory guideline system. which the court IInds to be reasonable
                       o       plea agreement that states that the government will not oppose a defense motion to the court to sentence outSide the alh Ison gUideline
                               system

           2           Motion Not Addressed in a Plea Agreement (Check all thai apply and check reason(s) below;:
                       o       government motion for a sentence outside of the advisory guideline system
                       o       defense motion for a sentence outside of the advisory guideline system to which the government did not object
                       o       defense motion for a sentence outside of the advisory guidelme system to which the government oblected

           3           Other
                       o       Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reaso/lls) hc/oll )

     C     Reason(s) for Sentence Outside the Advisory Guideline System (Check alllhm apply.)

           o the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to \ 8 USC 3553(a)( \)
                                                                                                                                       ~

           o to reflect the seriousness of the offense, to promote respect for the law. and to provide Just punishment for the offense (18 USC 35".11 all2)1 A)
                                                                                                                                                   ~

           o to afford adequate deterrence criminal conduct (18 USC ~ 3553(a)(2)(B»
                                              to

           o to protect the public from further crimes of the defendant (18 USC ~ 3553(a)(2)(C»
           o to provide the defendant with needed educational or vocalional training, medical care, or other correctional treatment In the most dlectl\ e manner
               (18 U.S.c. § 3553(a)(2XD))

           o to avoid unwarranted sentencing disparities among defendants (18 U.Sc. § 3553(a)(6»
           o to provide restitution to any VIctims of the otfense (\8 US C 3553(a)(7}}
                                                                               ~



     o     Explain the facts justifying a sentence outside the advisory guideline system. (Use page -I if neCeSI1/r1')
                Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 10 of 15

A0245B    (Rev. 09/11) Judgment in a Criminal Case
          Attachment (Page 4) - Statement of Reasons


DEFENDANT: DWAYNE PERSON
CASE NUMBER: 10-CR-10440-DPW-14
DISTRICT:    District of Massachusetts
                                                         STATEMENT OF REASONS

VII   COURT DETERMINATIONS OF RESTITUTION

      A   ~     Restitution Not Applicable.

      B   Total Amount of Restitution:

      C   Restitution not ordered (Check only one.):

                o For offenses for which restitution is otherwise mandatory under 18 Us.c. ~ 3663A, restitution is not ordered because the nLlmher or
                      identifiable victims is so large as to make restitution impracticable under 18 USc. ~ 3663A(c)(3)(A)

          2     0     For offenses for which restitution is otherwise mandatory under 18 US C ~ 3663A. restitutIOn IS not ordered because deterl1llnln!! CDl11ple\
                      issues of fact and relating them to the cause or amount of the Victims' losses would complicate or prolong the sentenCing pnKC>s to" degree
                      that the need to provide restitution to any VICtim would be outweighed by the burden on the sentencing process under 18 I; S L ~ 3663Alc1I311B)

          3     0     For other offenses for which restitution is authorized under 18 U.S.c. ~ 3663 and/or required by the sentencmg gUldelmes. restitution IS not
                      ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order Olilwelgh
                      the need to provide restitution to any victims under 18 Us.c. ~ 3663(a)(1 )(B)(ii)

           4    0     Restitution is not ordered for other reasons. (Explain.)




      D    0    Partial restitution is ordered for these reasons (/8 U.Sc. § 3553(c)):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (if applicable.)




                                                                                                                •


                                                                                                                        ...
                    Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.




Defendant's Soc. Sec. No.:                                                                          Date of Imposition of Judgment

Defendant's Date of Birth:        1970                                                             Z.01   :,---tg)tIAIJ,~ li
                                                                                                   ----'16~------ - ---­
                                                                                                    Signature of Judge
Defendant's Residence Address:
 Dorchester Center, MA                                                                              Douglas P. Woodlock                       U.SDJ.
Defendant's Mailing Address:                                                                        Name and Title1Judge                    S
 Unknown.                                                                                           Date Signed     rltlkA~ ~ J _~~
     Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 11 of 15




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
                  v.                           )       Criminal No. 10-1 0440-DPW
                                               )
14. DWAYNE PERSON,                             )
                Defendant.                     )


                         PRELIMINARY ORDER OF FORFEITURE
WOODLOCK, D.J.

        1.     WHEREAS, December 23, 2010, a federal grand jury sitting in the District of

Massachusetts returned a sixteen-count Indictment charging defendant Dwayne Person (the

"Defendant"), and others, with Conspiracy to Distribute more than 500 Grams of Cocaine and

more than 280 Grams of Cocaine Base, in violation of21 U.S.c. § 846 (Count One), Possession of

more than 500 Grams of Cocaine with Intent to Distribute and Distribution of Cocaine. in violation

of21 U.S.c. § 84I(a)(l) (Count Ten), and Unlawful UseofaCommunication Facility, in violation

of21 U.S.c. § 843(b) (Count Eleven); I

       WHEREAS, the Indictment also contained a forfeiture allegation, pursuant to 21 U.s.c.

§ 853, which provided notice that the United States sought the forfeiture, upon conviction of the

Defendant of any offense alleged in Counts One, Ten, and Eleven of the Indictment, of any and all

property constituting, or derived from, any proceeds the Defendant obtained, directly or indirectly.

as a result ofthe offense; and/or any property used or intended to be used, in any manner or part. to

commit, or to facilitate the commission of, such violation;



1 The Defendant was not charged in counts two through nine and counts twelve through sixteen of the
Indictment.
     Case 1:10-cr-10440-DPW Document 575 Filed 01/29/13 Page 12 of 15




        WHEREAS, on May 5, 2011, the United States filed a Bill of Particulars for Forfeiture of

Assets, providing notice of specific property that the government intended to forfeit pursuant to 21

U.S.c. § 853 as a result of violations of 21 U.S.c. §§ 846, 843(b), and 841 (a)( 1);

        WHEREAS, the Bill of Particulars identified for forfeiture any and all prOperly

constituting or derived from, any proceeds the defendants obtained, directly or indirectly, as a

result of such offenses; and/or any property used or intended to be used, in any manner or part, to

commit, or to facilitate the commission of, such violation, including but not limited to the

following:

               a.   $5,140.00 in United States currency seized at 8 Peacevale Road, Dorchester,
                    Massachusetts on or about December 2, 2010; and

               b.   one blue 1973 Chevrolet Caprice, bearing Vehicle Identification Number
                    1N67R3Y170298 and Massachusetts registration number 295EK7

 (collectively, the "Properties").

       WHEREAS, on June 6, 2011, the United States filed a Second Bill of Particulars giving

notice that it sought the forfeiture of additional specific assets, owned by other defendants in this

matter, pursuant to 21 U.S.c. § 853;

       WHEREAS, the Indictment further provided that, if any of the above-described forfeitable

property, as a result of any act or omission by the Defendant, (a) cannot be located upon the

exercise of due diligence; (b) has been transferred or sold to, or deposited with, a third party; (c)

has been placed beyond the jurisdiction of the Court; (d) has been substantially diminished in

value; or (e) has been commingled with other property which cannot be divided without difficulty,

the United States is entitled to seek forfeiture of any other property of the Defendant, up to the

value of such assets, pursuant to 21 U.S.c. § 853(p).


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           WHEREAS, on October 9,2012, at a hearing pursuant to Rule 11 ofthe Federal Rules of

Criminal Procedure, the Defendant pled guilty to Counts One, Ten, and Eleven, of the Indictment.

The Defendant also signed a written plea agreement in which he consented to the forfeiture of the

Properties, and admitted that the Properties were subject to forfeiture:

           WHEREAS, in light of the Defendant's guilty pica and admissions in the plea agreement.

the United States has established the requisite nexus between the Properties and the offenses to

which the Defendant pled guilty, and accordingly, the Properties are subject to forfeiture to the

United States pursuant to 21 U.s.c. § 853;

           WHEREAS, pursuant to 21 U.S.c. § 853 and Rule 32.2(b)(2) of the Federal Rules of

Criminal Procedure, the United States is now entitled to a Preliminary Order of Forfeiture against

the Properties.

           ACCORDINGLY, it is hereby ORDERED, ADJUDGED, AND DECREED that:

           1.     The Court finds, pursuant to Rule 32.2(b)( 1) of the Federal Ru les of Crim inal

Procedure, that the government has established the requisite nexus between the Properties and the

offenses to which the Defendant pled guilty.

           2.     Accordingly, all of the Defendant's interests in the Properties are hereby forfeited

to the United States of America for disposition pursuant to 21 U.S.c. § 853.

       3.         Pursuant to Rule 32.2(b)(3) ofthe Federal Rules of Criminal Procedure, the United

States is hereby authorized to seize the Properties and maintain them in its secure custody and

control.

           4.     Pursuantto 21 U.s.c. § 853(n)(I), as incorporated by 21 U.S.c. § 853. the United

States shall publish, for thirty (30) consecutive calendar days on the government forfeiture website


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www.forfeiture.gov, notice ofthe Preliminary Order of Forfeiture and notice of the United States'

intent to dispose ofthe Properties.

        5.      Pursuant to 21 U.s.c. § 853(n)(1), as incorporated by 21 U.s.c. § 853, the United

States shall give, to the extent practicable, direct written notice to any person known to have

alleged an interest in the Properties to be forfeited.

        6.      Pursuant to 21 U.S.c. § 853(n)(2) and (3), as incorporated by 21 U.s.c. § 853. the

notice referred to above shall state: (a) that any person, other than the Defendant, asserting a legal

interest in the Properties, shall, within sixty (60) days after the first day of publication on the

government forfeiture website or within thirty (30) days after receipt of actual notice, whichever is

earlier, file a petition with the United States District Court in Boston, Massachusetts, requesting a

hearing to adjudicate the validity of his or her interest in the Properties; and (b) that the petition

shall be signed by the petitioner under the penalty of perjury and shall set forth the nature and

extent of the petitioner's right, title, or interest in the Properties, the time and circumstances of the

petitioner's acquisition of the right, title, or interest in the Properties, any additional facts

supporting the petitioner's claim, and the relief sought.

        7.      Pursuant to 21 U.s.c. § 853(n)(7), as incorporated by 21 U.S.c. § 853, following

the Court's disposition of all petitions filed under 21 U.S.c. § 853(n)(6), or if no such petitions are

filed following the expiration of the period provided in 21 U.S.c. § 853(n)(2) for the filing of such

petitions, the United States of America shall have clear title to the Properties.

        8.      Upon adjudication of all third party interests, this Court will enter a Final Order of

Forfeiture, pursuant to 21 U.S.c. § 853 and Rule 32.2(c) of the Federal Rules ofCriminaJ

Procedure, in which all interests will be addressed.


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       9.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture will become final as to the Defendant at the time of his sentencing,

will be part of the Defendant's criminal sentence, and will be included in the criminal judgment

entered by this Court against him.




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